        Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 1 of 37 PageID #:1




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 RHONDA WHITE,                                     )
                                                   )
                                 Plaintiff,        )
                                                   )   No.
                          v.                       )
                                                   )   Judge
 CHUKWUDI NWAWKA, M.D., SILVER                     )
 CROSS HOSPITAL AND MEDICAL                        )   Formerly Case No. 2018 L 3793
 CENTERS, MANAMAR SINGH, M.D., and                 )   Circuit Court of Cook County, Illinois
 HOSPITALIST CONSULTANTS GROUP,                    )
 SC,                                               )
                     Defendants.                   )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                               Randall F. Peters
              Clerk of the Circuit Court                 177 N. State Street, 3rd Floor
              Richard J. Daley Center, Room 1001         Chicago, Illinois 60601
              50 West Washington Street
              Chicago, Illinois 60602

              Lowis & Gellen                             Swanson Martin & Bell LLP
              175 W. Jackson, Suite 950                  330 N. Wabash Street
              Chicago, Illinois 60604                    Chicago, Illinois 60611

         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

         1.       On April 13, 2018, plaintiff Rhonda White commenced the above civil action

against Chukwudi Nwawka, M.D., and others, alleging medical malpractice. A copy of the state

court complaint is attached as Exhibit A. For purposes of this lawsuit, Aunt Martha’s Youth

Service Center, Inc., is a private entity that receives grant money from the Public Health Service

pursuant to 42 U.S.C. § 233. Exhibit B. In addition, Chukwudi Nwawka, M.D., was acting within
      Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 2 of 37 PageID #:2




the scope of his employment at the Center with respect to the incidents referred to in the complaint.

Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Access

Community Health Network was a private entity receiving grant money from the Public Health

Service and that defendant Chukwudi Nwawka, M.D., was acting within the scope of his

employment at the Access Community Health Network with respect to the incidents referred to in

the complaint. Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Chukwudi Nwawka, M.D.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Chukwudi Nwawka, M.D.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, Jr.
                                              United States Attorney

                                              By: s/ Gina Brock
                                                 GINA BROCK
                                                 Assistant United States Attorney
                                                 219 South Dearborn Street
                                                 Chicago, Illinois 60604
                                                 (312) 353-7919
                                                 gina.brock@usdoj.gov


                                                 2
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 3 of 37 PageID #:3




                       Exhibit A
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 4 of 37 PageID #:4
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 5 of 37 PageID #:5
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 6 of 37 PageID #:6
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 7 of 37 PageID #:7
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 8 of 37 PageID #:8
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 9 of 37 PageID #:9
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 10 of 37 PageID #:10
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 11 of 37 PageID #:11
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 12 of 37 PageID #:12
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 13 of 37 PageID #:13
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 14 of 37 PageID #:14
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 15 of 37 PageID #:15
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 16 of 37 PageID #:16
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 17 of 37 PageID #:17
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 18 of 37 PageID #:18
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 19 of 37 PageID #:19
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 20 of 37 PageID #:20
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 21 of 37 PageID #:21
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 22 of 37 PageID #:22
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 23 of 37 PageID #:23
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 24 of 37 PageID #:24
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 25 of 37 PageID #:25
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 26 of 37 PageID #:26
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 27 of 37 PageID #:27
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 28 of 37 PageID #:28
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 29 of 37 PageID #:29
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 30 of 37 PageID #:30
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 31 of 37 PageID #:31
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 32 of 37 PageID #:32
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 33 of 37 PageID #:33
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 34 of 37 PageID #:34
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 35 of 37 PageID #:35
Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 36 of 37 PageID #:36




                         Exhibit B
    Case: 1:19-cv-00573 Document #: 1 Filed: 01/29/19 Page 37 of 37 PageID #:37




                                       CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Rhonda White v.

Chukwudi Nwawka, M.D., et. al., No. 2018 L 3793 (Circuit Court of Cook County, Illinois), and

all attachments thereto. On the basis of the information now available, I find that at the relevant

times, Aunt Martha’s Youth Services Center, Inc. (“the health center”) was a private entity

receiving grant money from the Public Health Service pursuant to 42 U.S.C. § 233. Further, I

certify that Dr. Chukwudi Nwawka was acting within the scope of his employment at the health

center with respect to the incidents referred to in the complaint. Accordingly, for purposes of the

above case, Dr. Chukwudi Nwawka is deemed to be an employee of the United States pursuant to

42 U.S.C. § 233, for Federal Tort Claims Act purposes only.



                                              s/ Thomas P. Walsh
                                             THOMAS P. WALSH
                                             Chief, Civil Division
                                             Office of the United States Attorney
                                                 for the Northern District of Illinois

Date: December 22, 2018
